                     Case 21-13888      Doc 185     Filed 12/19/22     Page 1 of 3


                              UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MARYLAND
                                         BALTIMORE

In re: Algits, Incorporated                        § Case No. 21-13888
                                                   §
                                                   §
              Debtors                              §


                               CHAPTER 11 SUBCHAPTER V
                          TRUSTEE’S FINAL REPORT AND ACCOUNT

Angela L. Shortall                                                             , chapter 11 trustee
appointed under 11 U.S.C. § 1183(a), submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1183(b)(1). The trustee declares under penalty of
perjury as follows:


       1) The case was filed on 06/11/2021 and was converted to chapter 11 on 08/19/2021 .

       2) The trustee was appointed on 08/20/2021 .

       3) The plan was confirmed on 08/03/2022 and was consensual.

       4) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1193(b) on
                      .


       5) The trustee filed action to remedy default by the reorganized debtor in performance
under the plan on
                    .


       6) The case was substantially consummated       on 09/05/2022 .

       7) Number of months from filing or conversion to last payment:       12 .

       8) Number of months case was pending:         16 .

       9) Total value of assets abandoned by court order:                $0.00 .

       10) Total value of assets exempted:                  $0.00 .

       11) Amount of unsecured claims discharged without full payment              $1,726,157.56 .

      12) All estate bank statements, deposit slips, and canceled checks, or acceptable copies
or images thereof, have been submitted to the United States Trustee.



  UST Form 101-11(V2)-FR (02/23/2021)
                               Case 21-13888      Doc 185    Filed 12/19/22      Page 2 of 3




      Receipts:

               Total paid by or on behalf of debtor                       $357,809.07
               Less amount refunded to debtor                                   $0.00

      NET RECEIPTS:                                                                                      $357,809.07



     Expenses of Administration:
               Debtor Professional Fees                                                       $0.00
               Trustee Professional Fees                                                      $0.00
               Court Costs                                                                    $0.00
               Trustee Expenses & Compensation                                          $10,000.00
               Other                                                                    $10,889.20


     TOTAL EXPENSES OF ADMINISTRATION:                                                                    $20,889.20

Creditors:
                  Creditor            Debt         Claim       Claim           Claim            Principal              Int.
                   Name               Type       Scheduled    Asserted        Allowed             Paid                 Paid
      Snowden Investors              Administr                  $213,140.58     $213,140.58           $167,907.14             $0.00

      Eagle Bank (POC15)              Secured                   $208,535.83     $208,535.83           $153,255.95             $0.00

      Pawnee Leasing (POC 1)          Secured                     $9,891.78       $9,891.78             $9,891.78             $0.00

      Allegient Partners (POC 6)      Secured                    $31,213.71      $31,213.71             $5,865.00             $0.00




     UST Form 101-11(V2)-FR (02/23/2021)
                   Case 21-13888         Doc 185      Filed 12/19/22      Page 3 of 3
Summary of Disbursements to Creditors:
                                                    Claims               Principal            Interest
                                                    Allowed              Paid                 Paid
SECURED PAYMENTS:
Priority Unsecured Payments:
      Domestic Support Arrearage
      Domestic Support Ongoing
      All Other Priority                                     $710.06                 $0.00                 $0.00

TOTAL PRIORITY:                                              $710.06                 $0.00                 $0.00




GENERAL UNSECURED PAYMENTS:                            $1,726,157.56                 $0.00                 $0.00




Disbursements:

   Expenses of Administration                                      $20,889.20

   Disbursements to Creditors                                     $336,919.87

                                                                                                  $357,809.07
TOTAL DISBURSEMENTS




        13) The trustee certifies that the foregoing summary is true and complete and all
 administrative matters for which the trustee is responsible have been completed. The trustee
 requests that the trustee be discharged and granted such other relief as may be just and proper.


          12/19/2022
 Date: _______________                   By: Angela L. Shortall
                                                       Trustee



 STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
 Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-11(V2)-FR (02/23/2021)
